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UNlTED sTATES DISTRICT COURT CIV}L
SoUTHERN DISTRICT oF FLoRIDA E
MIAMI DIvIsIoN CAS
UNITED sTATES OF AMERICA, )
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) CIVIL ACTION NO. CIV_MARTINEZ
UNIVERSITY oF MAMI, § ,___,LED by C y
Defendant. )
) OT.`T ' 5 2006
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coNsEN'r DECREE AND FINAL JUDGMENT ' §§§‘?"o£?§i,,,'$'_"s§;‘§

 

 

I. BACKGROUND

A. The United States of America (“United States”), acting at the request of the jim
States Army, filed a complaint in this matter pursuant to Section 107 of the Comprehensive
--Environ-rnental Response, Compensation, and Liability Act of 1980, 42 U.S.C. § 9607, as
amended (“CERCLA”), seeking reimbursement of response costs incurred or to be incurred for
response actions taken at or in connection with the release or threatened release of hazardous
substances at on a parcel of land located in Perrine, Dade County, Florida, on land that was once
a parcel of the Richmond Naval Air Station (the “Site”).

B. The Settling Defendant does not admit any liability to Plaintiff arising out of the
transactions or occurrences alleged in the complaint

C. The United States and Settling Defendant agree, and this Court by entering this
Consent Decree finds, that this Consent Decree has been negotiated by the Parties in good faith,
that settlement of this matter will avoid prolonged and complicated litigation bet;veen the Parties,

and that this Consent Decree is fair, reasonable, and in the public interest

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THEREFORE, with the consent of the Parties to this Decree, it is ORDERED,

ADJUDGED, AND DECREED;
II. JURISDICTION

l. This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.
§§ l33l and 1345 and 42 U.S.C. §§ 9607 and 9613(b) and also has personal jurisdiction over
Settling Defendant. Solely for the purposes of this Consent Decree and the underlying
complaint, Settling Defendant waives all objections and defenses that they may have to
jurisdiction of the Court or to venue in this District. Settling Defendant shall not challenge the
terms of this Consent Decree or this Court’s jurisdiction to enter and enforce this Consent Decree.

III. PARTIES BOUND

2. This Consent Decree is binding upon the United States and upon Settling Defendant
and its successors and assigns. Any change in ownership or corporate or other legal status,
including butnot limited to, any transfer of assets or real or personal property, shall in no way
alter the status or responsibilities of Settling Defendant under this Consent Decree.

IV. DEFINITIONS

3. Unless otherwise expressly provided herein, terms used in this Consent Decree that are
defined in CERCLA or in regulations promulgated under CERCLA shall have the meanings
assigned to them in CERCLA or in such regulations Whenever terms listed below are used in
this Consent Decree or in any appendix attached hereto, the following definitions shall apply:

a. “CERCLA” shall mean the Comprehensive Environmental Response,

Compensation, and Liability Act of 1980, as amended, 42 U.S.C. § 9601, et seq.

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b. “Consent Decree” shall mean this Consent Decree and the appendix attached
hereto. In the event of conflict between this Consent Decree and any appendix, the Consent
Decree shall control.

c. “Day” shall mean a calendar day. In computing any period of time under this
Consent Decree, where the last day would fall on a Saturday, Sunday, or federal holiday, the
period shall run until the close of business of the next working day.

d. “DOJ” shall mean the United States Department of Justice and any successor
departments, agencies or instrumentalities of the United States.

g. “lnterest” shall mean interest compounded annually on October l of each year
at the rate specified for interest on investments of the Defense Department’s “Environmental
Restoration Account, Formerly Used Defense Sites” (“FUDS”) Account established pursuant to
lO U.S.C. § 2703(a).

h. “Paragraph” shall mean a portion of this Consent Decree identified by an
Arabic numeral or an upper or lower case letter.

i. “Parties” shall mean the United States and Settling Defendant.

j. “Past Response Costs” shall mean all costs, including but not limited to direct
and indirect costs, that the Aimy, or DOJ on behalf of the Army, has paid or incurred at or in
connection with the Site through the Effective Date, plus accrued Interest on all such costs
through such date.

k. “Plaintiff” shall mean the United States.

l. “Section” shall mean a portion of this Consent Decree identified by a Roman

numeral.

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m. “Settling Defendant” shall mean the University of Miami.

n. “Site” shall mean the area of approximately 0.25 acres, located to the west
(rear side) of Building Number l 1, on a parcel of land that was once part of the Richmond Naval
Air Station (located in Perrine, Dade County, Florida), and generally shown on the map included
in Appendix A.

o. “United States” shall mean the United States of America, including its
departments, agencies and instrumentalities

p. “United States Arm)f’ or “Army” shall mean the United States Army and any
of its instrumentalities, including the Corps of Engineers.

V. PAYMENT OF RESPONSE C()STS

4. Pavment of Past Resnonse Costs to the Armv. Within 30 days of entry of this Consent
Decree, Settling Defendant shall pay to the Army $393,473, plus an additional sum for Interest
on that amount calculated from the date that this Consent Decree is lodged With the Court
through the date of payment,

5. Payment shall be made by FedWire Electronic Funds Transfer (“EFT”) to the U.S.
Department of Justice account in accordance with EFT instructions provided to Settling
Defendant by the Financial Litigation Unit of the U.S. Attorney’s Office in the Southern District
of Florida following lodging of the Consent Decree.

6. At the time of payment, Settling Defendant shall also send notice that payment has
been made to the Anny and DOJ in accordance with Section XII (Notices and Submissions).
Such notice shall reference DOJ case number 90-11-3-08486, and the civil action number.

7. The total amount to be paid pursuant to Paragraph 4 shall be deposited by the

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Financial Litigation Unit in the Defense Department’s “Environmental Restoration Account,
Forrnerly Used Defense Sites” (“FUDS”) Account established pursuant to 10 U.S.C. § 2703(a).
VI. FAILURE TO COMPLY WITH CONSENT DECREE
8. lnterest on Late Pavments. If Settling Defendant fails to make any payment under
Paragraph 4 (Payment of Response Costs) by the required due date, lnterest shall continue to
accrue on the unpaid balance through the date of payment.
9. Stipulated Penalty.

a. If any amounts due under Paragraph 4 are not paid by the required date,
Settling Defendant shall be in violation of this Consent Decree and shall pay to the Army, as a
stipulated penalty, in addition to the lnterest required by Paragraph 8, $1,000 per day that such
payment is late.

b. Stipulated penalties are due and payable within 30 days of the date of the
demand for payment of the penalties by the Army. All payments under this Paragraph shall be
identified as “stipulated penalties” and shall be made pursuant to instructions to be provided by
the Army.

c. At the time of each payment, Settling Defendant shall also send notice that
payment has been made to the Arrny and DOJ in accordance with Section XII (Notices and
Submissions). Such notice shall DOJ Case Number 90~11~3-08486, and the civil action number.

d. Penalties shall accrue as provided in this Paragraph regardless of whether the
Army notified Settling Defendant of the violation or made a demand for payment, but need only
be paid upon demand. All penalties shall begin to accrue on the day after payment is due and

shall continue to accrue through the date of payment.

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10. lf the United States brings an action to enforce this Consent Decree, Settling
Defendant shall reimburse the United States for all costs of such action, including but not limited
to costs of attorney time.

ll. Payments made under this Section shall be in addition to any other remedies or
sanctions available to Plaintiff by virtue of Settling Defendant’s failure to comply with the
requirements of this Consent Decree,

12. Notwithstanding any other provision of this Section, the United States may, in its
unreviewable discretion, waive payment of any portion of the stipulated penalties that have
accrued pursuant to this Consent Decree. Payment of stipulated penalties shall not excuse Settling
Defendant from payment as required by Section V or from performance of any other requirements
of this Consent Decree,

VII. COVENANT NOT TO SUE BY PLAINTIFF

13. Covenant Not to Sue by United States Except as.specifically provided in Section VIlI
(Reservation of Rights by United States), the United States covenants not to sue or to take
administrative action against Settling Defendant pursuant to Section 107(a) of CERCLA, 42
U.S.C. § 9607(a), to recover Past Response Costs. This covenant not to sue shall take effect upon
receipt by the Army of all payments required by Section V, Paragraph 4 (Payment of Response
Costs) and any amount due under Section VI (F ailure to Comply with Consent Decree). This
covenant not to sue is conditioned upon the satisfactory performance by Settling Defendant of its
obligations under this Consent Decree, This covenant not to sue extends only to Settling

Defendant and does not extend to any other person.

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VIII. RESERVATlONS OF RIGHTS BY UNITED STATES
14. The United States reserves, and this Consent Decree is without prejudice to, all rights

against Settling Defendant with respect to all matters not expressly included within the Covenant
Not to Sue by Plaintiff in Paragraph 13. Notwithstanding any other provision of this Consent
Decree, the United States reserves all rights against Setting Defendants With respect to:

a. liability for failure of Settling Defendant to meet a requirement of this Consent
Decree;

b. liability for costs incurred or to be incurred by the United States that are not
within the definition of Past Response Costs;

c. liability for injunctive relief or administrative order enforcement under Section
106 of CERCLA, 42 U.S.C. § 9606;

d. criminal liability; and

e. liability for damages for injury to, destruction of, or loss of natural resources, and
for the costs of any natural resource damage assessments

IX. COVENANT NOT TO SUE BY SETTLING DEFENDANT

15. Settling Defendant covenants not to sue and agree not to assert any claims or causes of

action against the United States or its contractors or employees, With respect to Past Response
Costs or this Consent Decree, including but not limited to:

a. any direct or indirect claim for reimbursement from the Hazardous Substance
Superfund based on Sections 106(b)(2), 107, 111, 112, or 113 of CERCLA, 42 U.S.C. §§
9606(b)(2), 9607, 9611, 9612, or 9613, or any other provision of law;

b. any claim arising out of the response actions at the Site for which the Past

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Response Costs were incurred, including any claim under the United States Constitution, the
Constitution of the State of Florida, the Tucker Act, 28 U.S.C. § 1491, the Equal Access to Justice
Act, 28 U.S.C. § 2412, as amended, or at common law; or

c. any claim against the United States pursuant to Sections 107 and 113 of
CERCLA, 42 U.S.C. §§ 9607 and 9613, relating to Past Response Costs

16. Nothing in this Consent Decree shall be deemed to constitute approval or
preauthorization of a claim within the meaning of Section 111 of CERCLA, 42 U.S.C. § 9611, or
40 C.F.R. 300.700(d).

X. EFFECT OF SETTLEMENT/CONTRIBUTION PROTECTION

17. Nothing in this Consent Decree shall be construed to create any rights in, or grant any
cause of action to, any person not a Party to this Consent Decree, The Paities expressly reserve any
and all rights (including, but not limited to, any right to contribution), defenses, claims, demands,
and causes of action that they may have with respect to any matter, transaction, or occurrence
relating in any way to the Site against any person not a Party hereto.

18. The Parties agree, and by entering this Consent Decree this Court finds, that Settling
Defendant is entitled, as of the date of entry of this Consent Decree, to protection from contribution
actions or claims as provided by Section ll3(f)(2) of CERCLA, 42 U.S.C. § 9613(f)(2), for
“matters addressed” in this Consent Decree. The “matters addressed” in this Consent Decree are
Past Response Costs

19. Settling Defendant agrees that, with respect to any suit or claim for contribution
brought by it for matters related to this Consent Decree, it will notify the Army and DOJ in writing

no later than 60 days prior to the initiation of such suit or claim. Settling Defendant also agrees

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that, With respect to any suit or claim for contribution brought against it for matters related to this
`Consent Decree, it will notify EPA and DOJ in writing within 10 days of service of the complaint
or claim upon it. In addition, each Settling Defendant shall notify EPA and DOJ within 10 days of
service or receipt of any Motion for Summary Judgment, and within 10 days of receipt of any order
from a court setting a case for trial, for matters related to this Consent Decree.

20. ln any subsequent administrative or judicial proceeding initiated by the United States
for injunctive relief, recovery of response costs, or other relief relating to the Site, Settling
Defendant shall not assert, and may not maintain, any defense or claim based upon the principles
of waiver, res judicata, collateral estoppel, issue preclusion, claim-splitting, or other defenses
based upon any contention that the claims raised by the United States in the subsequent proceeding
Were or should have been brought in the instant case; provided, however, that nothing in this
Paragraph affects the enforceability of the Covenant Not to Sue by Plaintiff set forth in Section VII.

XI. RETENTION OF RECORDS y

21. Until 7 years alter the entry of this Consent Decree, Settling Defendant shall preserve
and retain all records, reports, or information (hereinafter referred to as “records”)” now in its
possession or control, or which come into its possession or control, that relate in any manner to
response actions taken at the Site or the liability of any person under CERCLA with respect to the
Site, regardless of any corporate retention policy to the contrary

22. After the conclusion of the 7-year document retention period in the preceding
paragraph, Settling Defendant shall notify the Anny and DOJ at least 90 days prior to the
destruction of any such records, and, upon request by the Army or DOJ, Settling Defendant shall

deliver any such records to the Army. Settling Defendant may assert that certain records are

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privileged under the attorney-client privilege or any other privilege recognized by federal law. If
Settling Defendant asserts such a privilege, it shall provide Plaintiff With the following: l) the title
of the record; 2) the date of the record; 3) the name, title, affiliation (e.g., company or finn), and
address of the author of the record; 4) the name and title of each addressee and recipient; 5) a
description of the subject of the record; and 6) the privilege asserted. If a claim of privilege applies
only to a portion of a record, the record shall be provided to Plaintiff in redacted form to mask the
privileged information only. Settling Defendant shall retain all records that they claim to be
privileged until the United States has had a reasonable opportunity to dispute the privilege claim
and any such dispute has been resolved in the Settling Defendant’s favor. However, no records
created or generated pursuant to the requirements of this or any other settlement With the Army
pertaining to the Site shall be withheld on the grounds that they are privileged

23. Settling Defendant hereby certifies that, to the best of its knowledge and belief, after
thorough inquiry, it has not altered, mutilated, discarded, destroyed or otherwise disposed of any
records, reports, or information relating to its potential liability regarding the Site since notification
of potential liability by the United States, which occurred on August l, 2003, and that it has fully
complied with any and all requests for information pursuant to Sections 104(e) and 122(e) of
CERCLA, 42 U.S.C. §§ 9604(e) and 9622(e), and Section 3007 of RCRA, 42 U.S.C. § 6972.

XII. NOTICES AND SUBMISSIONS

24. Whenever, under the terms of this Consent Decree, notice is required to be given or a
document is required to be sent by one party to another, it shall be directed to the individuals at the
addresses specified below, unless those individuals or their successors give notice of a change to

the other Defendants in writing Written notice as specified herein shall constitute complete

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satisfaction of any Written notice requirement of the Consent Decree with respect to the United
States, the Army, DOJ, and Settling Defendant, respectively
As to the United States:

As to DOJ:

Chief, Environmental Enforcement Section
Environment and Natural Resources Division
U.S. Department of Justice (DJ # 90-11-3-08486)
P.O. Box 7611

Washington, D.C. 20044-7611

As to the Anny:
U.S. Army Corps of Engineers, Savannah District

ATTN: District Counsel
100 W. Oglethorpe Avenue
Savannah, GA 31401

As to Settling Defendant:

Robert L. Blake

Vice President and General Counsel
University of Miami

P.O. Box 248052

Coral Gables, FL 33124

Telephone: (305) 284-2700
Fax No.: (305) 284-5063

Scott Reisch

Hogan & Hartson, LLP
One Tabor Center

1200 17th Street, Ste. 1500
Denver, CO 80202

Tel: (303) 899-7300

Fax: (303) 899-7333

XIII. RETENTION OF JURISDICTION
25. This Court shall retain jurisdiction over this matter for the purpose of interpreting and

enforcing the terms of this Consent Decree,

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XIV. INTEGRATION/APPENDICES

26. This Consent Decree and its appendix constitute the final, complete and exclusive
agreement and understanding among the Defendants with respect to the settlement embodied in
this Consent Decree, The Parties acknowledge that there are no representations agreements or
understandings relating to the settlement other than those expressly contained in this Consent
Decree, The following appendix is attached to and incorporated into this Consent Decree:
“Appendix A” is the map of the Site,

XV. LODGING AND OPPORTUNITY FOR PUBLIC COMMENT

27. This Consent Decree shall be lodged with the Court for a period of not less than 30
days for public notice and comment. The United States reserves the right to Withdraw or withhold
its consent if the comments regarding the Consent Decree disclose facts or considerations which
indicate that this Consent Decree is inappropriate, improper, or inadequate Settling Defendant
consents to the entry of this Consent Decree without further notice.

28. If for any reason this Court should decline to approve this Consent Decree in the form
presented, this agreement is voidable at the sole discretion of any party and the terms of the
agreement may not be used as evidence in any dispute between the Parties.

XVI. SIGNATORIES/SERVICE

29. Each undersigned representative of a Settling Defendant to this Consent Decree and the
Deputy Chief of the Environmental Enforcement Section of the United States Department of
Justice certifies that he or she is authorized to enter into the terms and conditions of this Consent
Decree and to execute and bind legally such Party to this document

30. Settling Defendant hereby agrees not to oppose entry of this Consent Decree by this

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Court or to challenge any provision of this Consent Decree, unless the United States has notified
Settling Defendant in Writing that it no longer supports entry of the Consent Decree.

31. Settling Defendant shall identify, on the attached signature page, the name and address
of an agent who is authorized to accept service of process by mail on behalf of that Party with
respect to all matters arising under or relating to this Consent Decree. Settling Defendant hereby
agrees to accept service in that manner and to waive the formal service requirements set forth in
Rule 4 of the Federal Rules of Civil Procedure and any applicable local rules of this Court,
including but not limited to, service of a summons The Parties agree that Settling Defendant need
not file an answer to the complaint in this action unless or until the Court expressly declines to
enter this Consent Decree,

XVII. FINAL JUDGMENT

32. Upon approval and entry of this Consent Decree by the Court, this Consent Decree
shall constitute the final judgment between the United States and the Settling Defendant. The
Court finds that there is no just reason for delay and therefore enters this judgment as a final

judgment under Fed. R. Civ. P. 54 and 58. Any pending motions are DENIED as moot,
this case is CLOSED.

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THE UNDERSIGNED PARTY enters into this Consent Decree in the matter of United States v.
University of Miami, relating to the site of the former Richmond Naval Air Station.

FOR THE UNITED STATES OF AMERICA, DOJ:

Date: Q/Lv\%m$

len M. Mahan
Deputy Chief
Environmental Enforcement Section
Environment and Natural Resources
Division
United States Department of Justice

  

Date: 4 92 f

 

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Environrnental Enforcement Section

Environment and Natural Resources
Division

United States Department of Justice

P.O. Box 7611

Washington, D.C. 20044-7611

Telephone: (202) 514-2779

Facsimile: (202) 514-2583

Steve.o’rourke@usdoj. gov

R. Alexander Acosta
United States Attomey
Southern District o

Date: j; 271/5 p¢/Y:V////W@

Carole M. Fen% an ez

Assistant United States Attorney
Southern District of Florida

99 N.E. 4th Street, Suite 300
Miami, Florida 33132
Telephone: (305) 961-9333
Facsimile: (305) 530-7139
E-mail: Carole.Fernandez@usdoj.gov
Assigned No. A5500016

 
 

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THE UNDERSIGNED PARTY enters into this Consent Decree in the matter of United States v.
University of Miami, relating to the site of the former Richmond Naval Air Station.

FOR DEFENDANT UNIVERSITY OF MIAMI:

Robert L. Blalfe

Vice President and General Counsel
University of Miami

P.O. Box 248052

Coral Gables, FL 33124

Telephone: 305-284-2700

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APPENDIX A:
SITE MAP

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LOCATION MAP

 

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PROJECT MAP

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